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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ORA NAFTALI AND RONI NAFTALI,
 AS TRUSTEES OF THE EDTOM TRUST,              Civil Action No. 15-cv-7152 (JMA)(ARL)

       Plaintiff,
                                              NOTICE OF APPEARANCE
               -v-

 NEW YORK DEFERRED EXCHANGE
 CORP., AND JEFFREY WECHSLER,

       Defendants.

 NEW YORK DEFERRED EXCHANGE CORP.,

       Counterclaim Plaintiff,

               -v-

 ORA NAFTALI AND RONI NAFTALI, AS
 TRUSTEES OF THE EDTOM TRUST,

       Counterclaim Defendants.

 NEW YORK DEFERRED EXCHANGE CORP.,

       Third-Party Plaintiff,

               -v-

 ORA NAFTALI AND RONI NAFTALI,

       Third-Party Defendants.

 ORA NAFTALI AND RONI NAFTALI,

       Third-Party Counterclaim Plaintiffs,

               -v-

 NEW YORK DEFERRED EXCHANGE CORP.,

       Third-Party Counterclaim Defendant.
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 ORA NAFTALI AND RONI NAFTALI,

          Third-Party Cross-Claim Plaintiffs,

                 -v-

 JEFFREY L. WECHSLER,

          Third-Party Cross-Claim Defendants.

 JEFFREY L. WECHSLER,

          Second Third-Party Plaintiff,

                 -v-

 JOSEPH TAPLITZKY,

          Second Third-Party Defendant.

          PLEASE TAKE NOTICE that Matthew C. Ferlazzo, Esq. of HINSHAW &

 CULBERTSON LLP, 800 Third Avenue, 13th Floor, New York, New York 10022, hereby

 appears in this action on behalf of Defendant/Third-Party Plaintiff/Third-Party Counterclaim

 Defendant NEW YORK DEFERRED EXCHANGE CORP.

 Dated:       New York, New York
              April 26, 2019
                                                HINSHAW & CULBERTSON LLP
                                                 Attorneys for Defendant/Third-Party
                                                 Plaintiff/Third-Party Counterclaim Defendant
                                                 New York Deferred Exchange Corp.

                                           By: /s/Matthew C. Ferlazzo
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